      Case 3:12-cr-05187-JAH                       Document 291              Filed 10/01/15               PageID.887   Page 1 of 2



    ~o 2450 (CASD) (Rev. 1112) Judgment in a Criminal Case for Revocations

               Sheet I                                                                                                 OCT 0 1 2015

                                            UNITED STATES DISTRICT COURT
                                                 SOUTHERN DISTRICT OF CALIFORNIA
                   UNITED STATES OF AMERICA                                   JUDGMENT IN A CRIMINAL CASE
                                       V.                                     (For Revocation of Probation or Supervised Release)
                         Favian Obeso-Lopez -2                                (For Offenses Committed On or After November 1, 1987)


                                                                              Case Number: 12-cr-05187-JAH-2

                                                                               Keith Howard Rutman
                                                                              Defendant's Attorney
    REGISTRATION No. 35710298
o
    THE DEFENDANT:
     o  admitted guilt to violation of allegation(s) No.,...:I~,2:...::&:...:3:...:,_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

     o was found in violation of allegation(s) No. _ _ _ _ _ _ _ _ _ _ _ _ _ _ after denial of guilt.
    ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following allegation(s):

    Alle!!:atioD Number                     Nature ofViolatioD
           1,2,3             Committed a federal, state or local offense (nv I)




      Supervised Release       is revoked and the defendant is sentenced as provided in pages 2 through           2    of this judgment.
    This sentence is imposed pursuant to the Sentencing Reform Act of 1984.


             IT IS ORDERED that the defendant shall notifY the United States Attorney for this district within 30 days of any
    change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
    fully paid. If ordered to pay restitution, the defendant shall notifY the court and Umted States Attorney of any material change in the
    defendant's economic circumstances.

                                                                               September 21, 2015
                                                                              Dare of Imposition of Sentence




                                                                                                                        12-cr-05187 -JAH-2
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AD 245D (CASD) (Rev. 1/12) Judgment in a Criminal Case for Revocations
             Sheet 2 - Imprisonment
                                                                                                      Judgment   Page _..;;;2~ of     2
 DEFENDANT: Favian Obeso-Lopez -2
 CASE NUMBER: 12-cr-05187-JAH-2
                                                                  IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
          Twenty-four months, consecutive to sentence in case lScr0270-JAH.




     o The court makes the following recommendations to the Bureau of Prisons:

     o The defendant is remanded to the custody of the United States Marshal.
     o The defendant shall surrender to the United States Marshal for this district:
             Oat                                       Oa.m.             Op·m.    on _ _ _ _ _ _ _ _ _ _ _ __

                 as notified by the United States Marshal.

     o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
        o before --------------------------------------------------------
        o as notified by the United States Marshal.
        o as notified by the Probation or Pretrial Services Office.
                                                                           RETURN

  I have executed this judgment as follows:

          Defendant delivered on                                                          to

  at _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy ofthis judgment.


                                                                                                     UNITED STATES MARSHAL


                                                                                 By _______~~~~~~~~~-----------
                                                                                                  DEPUTY UNITED STATES MARSHAL




                                                                                                                            12-cr-05187-JAH-2
